
LOTTINGER, Judge.
This is one of three suits which were consolidated with the suit entitled Standard Brands, Inc. v. Department of Highways, State of Louisiana, 329 So.2d 821 (La.App. 1st Cir. 1976). The four suits were tried together in the Trial Court, however, separate judgments were rendered. We have considered the four suits together and have given our reasons for judgment this day in suit No. 10611.
For the reasons this day rendered in Standard Brands, Inc. v. Department of Highways, State of Louisiana, supra, the judgment of the Trial Court will be affirmed, all costs of this appeal to be paid by plaintiff.
AFFIRMED.
ELLIS, L, concurs.
